

Matter of Flynn v Annucci (2017 NY Slip Op 08788)





Matter of Flynn v Annucci


2017 NY Slip Op 08788


Decided on December 14, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2017

524929

[*1]In the Matter of BRUCE FLYNN, Petitioner,
vANTHONY J. ANNUCCI, as Acting Commissioner of Corrections and Community Supervision, et al., Respondents.

Calendar Date: October 24, 2017

Before: McCarthy, J.P., Lynch, Devine, Mulvey and Pritzker, JJ.


Bruce Flynn, Elmira, petitioner pro se.
Eric T. Schneiderman, Attorney General, Albany (Frank Brady of counsel), for respondents.



MEMORANDUM AND JUDGMENT
Proceeding pursuant to CPLR article 78 (transferred to this Court by order of the Supreme Court, entered in Albany County) to review a determination of respondent Commissioner of Corrections and Community Supervision finding petitioner guilty of violating certain prison disciplinary rules.
Determination confirmed. No opinion.
McCarthy, J.P., Lynch, Devine, Mulvey and Pritzker, JJ., concur.
ADJUDGED that the determination is confirmed, without costs, and petition dismissed.








